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8                             UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

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11   LARRY FRADIUE,                             Case No. 5:18-00286 MCS (ADS)

12                             Petitioner,

13                             v.               JUDGMENT

14   RAYMOND MADDEN, Warden,

15                             Respondent.

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17         Pursuant to the Court’s Order Accepting Report and Recommendation of United

18   States Magistrate Judge and Dismissing Case, IT IS HEREBY ADJUDGED that the

19   above-captioned case is dismissed with prejudice.

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21   DATED: December 29, 2020         ____________________________________
                                      THE HONORABLE MARK C. SCARSI
22                                    United States District Judge

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